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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 1:24-cv-20239-JLK

 JESUS GONZALEZ,

        Plaintiff,
 v.

 7-ELEVEN, INC.,

       Defendant.
 ______________________________________/

                     ORDER DISMISSING ACTION WITH PREJUDICE

        THIS CAUSE is before the Court upon the Parties’ Joint Stipulation for Dismissal with

 Prejudice (DE 9) filed May 3, 2024. The Court has carefully considered the Joint Stipulation for

 Dismissal with Prejudice and is otherwise fully advised in this matter, and it is hereby

        ORDERED AND ADJUDGED that this action is DISMISSED WITH PREJUDICE.

 Each party shall bear their own attorney’s fees and costs. Any pending motions are DENIED AS

 MOOT and the Clerk is directed to CLOSE this action. The Final Pretrial Conference set for

 February 7, 2025, and trial set for April 7, 2025, are hereby CANCELED.

        DONE AND ORDERED in chambers at the James Lawrence King Federal Justice

 Building and United States Courthouse, Miami, Florida, this 8th day of May, 2024.




                                               JAMES LAWRENCE KING
                                               UNITED STATES DISTRICT JUDGE
 cc:    All Counsel of Record
        The Clerk of Court
